             Case 8:19-cv-01514-DOC-DFM Document 379 Filed 06/27/22 Page 1 of 8 Page ID #:12130


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                   8     DEPUTY CHAD RENEGAR
                   9                           UNITED STATES DISTRICT COURT
                   10               CENTRAL DISTRICT OF CALIFORNIA-SOUTHERN DISTRICT
                   11

                   12    JEREMY HOLLOWAY,                         )   CASE NO. 8:19-cv-01514-DOC-DFM
                                                                  )   Honorable David O. Carter; Courtroom
                   13                       Plaintiff,            )   10A
                   14                                             )
                                vs.                               )   DEFENDANT CHAD RENEGAR’S
                   15                                             )   OPPOSITION TO PLAINTIFF’S
                   16    COUNTY OF ORANGE; DEPUTY )                   MOTION TO DISQUALIFY DISTRICT
                         CHAD RENEGAR, individually and as )          JUDGE FOR BIAS AND PREJUDICE
                   17    a peace officer, DEPUTY JOEL             )
                   18    GONZALEZ, individually and as a          )
                         peace officer. DEPUTY KEVIN              )   Complaint Filed: August 6, 2019
                   19    PAHEL, individually and as a peace )
                   20    officer, DEPUTY BRANDON                  )   Trial Date: December 6, 2022
                         BILLINGER, individually and as a         )
                   21    peace officer, DEPUTY MARK               )
                   22    BORBA, individually and as a peace )
                         officer, DEPUTY JAMESON GOTTS, )
                   23    individually and as a peace officer,     )
                   24    DEPUTY JUSTIN GUNDERSON,                 )
                         individually and as a peace officer, and )
                   25    DOES 1 through 10, Inclusive             )
                   26                                             )
                                            Defendants.           )
                   27

                   28    FILE # 23084
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             Case 8:19-cv-01514-DOC-DFM Document 379 Filed 06/27/22 Page 2 of 8 Page ID #:12131


                   1                Defendant Deputy Chad Renegar (“Renegar”) hereby opposes Plaintiff Jeremy
                   2
                         Holloway’s (“Plaintiff”) Motion to Disqualify District Judge David O. Carter for Bias and
                   3

                   4     Prejudice (“Motion”). Plaintiff’s arguments are without merit because Plaintiff’s
                   5     authorities, while on point with the Motion, do not support Plaintiff’s claims. Additionally,
                   6
                         Plaintiff’s counsel and defense counsel were subject to the same time constraints and
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                   8     conditions while in court. Plaintiff has not been subjected to bias from Honorable District
                   9     Judge David O. Carter. Therefore, Renegar respectfully requests the Court deny Plaintiff’s
                   10
                         Motion.
                   11

                   12               Plaintiff cites numerous Ninth Circuit and United States Supreme Court cases
                   13    regarding the requirements for a District Judge to be disqualified due to bias and prejudice.
                   14
                         Interestingly, each of these cases demonstrates that disqualification is not warranted.
                   15

                   16               Three of Plaintiff’s factual assertions regarding Judge Carter’s bias are about his
                   17    judicial decisions. Yet as Plaintiff’s own authority establishes, judicial rulings, in-and-of-
                   18
                         themselves, almost never establish bias. Specifically, Plaintiff relies on United States v.
                   19

                   20    Hernandez, which held “judicial rulings alone almost never constitute valid basis for a
                   21    bias or partiality motion.” (United States v. Hernandez, 109 F.3d 1450, 1454 (9th Cir.
                   22
                         1997)). “Opinions formed by the judge on the basis of facts introduced or events occurring
                   23

                   24    in the course of the current proceedings, or of prior proceedings, do not constitute a basis
                   25    for bias or partiality motion unless they display a deep-seated favoritism or antagonism.”
                   26
                         (Id.). The case goes on to say, “most district court rulings take a position on disputed issues
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             Case 8:19-cv-01514-DOC-DFM Document 379 Filed 06/27/22 Page 3 of 8 Page ID #:12132


                   1     in a case” and that “does not equate to deep-seated favoritism.” (Id.). Likewise, Plaintiff
                   2
                         relies on Brokaw v. Mercer City, which found “a reasonable person would not reasonably
                   3

                   4     believe that the district court was biased or prejudiced against C.A. because the only
                   5     evidence of bias C.A. presents consists of judicial rulings. Moreover, judicial rulings do
                   6
                         not demonstrate evidence of personal animosity or malice.” (Brokaw v. Mercer City, 235
                   7

                   8     F.3d 1000, 1025 (7th Cir. 2000)).
                   9                Here, Plaintiff has not presented any evidence of deep-seated favoritism or
                   10
                         antagonism. Just because Plaintiff and his counsel disagree with the rulings, and they
                   11

                   12    impacted his case, does not establish bias. The decision to grant or deny summary
                   13    judgment/adjudication and to admit or not admit evidence at trial impacts both Plaintiff
                   14
                         and Defendants.
                   15

                   16               Next, Plaintiff asserts that the manner in which Judge Carter conducted the trial
                   17    demonstrates bias against Plaintiff’s counsel. However, pursuant to United States v.
                   18
                         Hernandez, “a judge’s ordinary efforts at courtroom administration – even a stern and
                   19

                   20    short-tempered judge’s ordinary effort at courtroom administration – remain immune.”
                   21    (Hernandez, 109 F.3d at 1454). Plaintiff states that Judge Carter was annoyed and angry,
                   22
                         while raising his voice. The very authority Plaintiff relies on clearly states that a judge
                   23

                   24    who is annoyed or angry does not rise to the level of bias that is required for removing a
                   25    district court judge. Specifically, in Liteky v. United States the Court held that “not
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                         establishing bias or partiality, however, are expressions of impatience, dissatisfaction,
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                   1     annoyance and even anger.” (Liteky v. United States, 510 U.S. 540, 555-56, 114 S. Ct.
                   2
                         1147, 1157 (1994)). Liteky goes on to say, “judicial remarks during the course of a trial
                   3

                   4     that are critical or disapproving of, or even hostile to, counsel, the parties, or their cases,
                   5     ordinarily do not support a bias or partiality challenge.” (Id.). Therefore, even if Judge
                   6
                         Carter was annoyed, angry, and raised his voice, that is insufficient to support a claim of
                   7

                   8     bias. Further Plaintiff’s counsel ignores the role she played in raising the ire of the Court
                   9     by continually disobeying the Court’s instructions, challenging the Court’s ability to
                   10
                         control his courtroom and even returning late from breaks. Not to mention the snide
                   11

                   12    comments and commentary on the witnesses and evidence during her drug out
                   13    examination of witnesses.
                   14
                                    Plaintiff makes the claim in the Motion that “the jury like a sponge absorbed that
                   15

                   16    antagonistic attitude towards Plaintiff’s counsel, which prejudiced Plaintiff in their eyes,
                   17    culminating in a hung jury, as if by design.” (Motion, page 8, lines 21-24). However, in
                   18
                         the transcript attached to the Motion, Judge Carter stated, outside the presence of the jury,
                   19

                   20    he thought there was prejudice to Plaintiff due to Plaintiff’s counsel’s behavior. (Exhibit
                   21    A, page 22, lines 13-18 and page 28, lines 8-13). Judge Carter offered to start the trial over
                   22
                         from scratch because he was worried about the prejudice to Plaintiff, but Plaintiff’s
                   23

                   24    counsel stated she did not want a new trial. (Exhibit A, page 13, lines 10-20).
                   25               Next, Plaintiff relies on Berger v. United States, a case from 1921 about a judge
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                         who blatantly stated that he was biased towards the nationality of the defendant as support
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                   1     for disqualification. (Berger v. United States, 255 U.S. 22, 29, 41 S. Ct. 230, 231 (1921)).
                   2
                         In Berger, the judge specifically told the defendant he was a disloyal American citizen,
                   3

                   4     and he would rather rule for a bank robber than the defendant strictly based on defendant’s
                   5     nationality. (Id.). There can be no doubt that disqualification under those facts was
                   6
                         warranted. However, in this matter, Plaintiff presents zero evidence of any such statement
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                   8     from Judge Carter. Rather, Plaintiff’s counsel suggests that because Judge Carter was
                   9     annoyed with her, raised his voice to her, and threatened a mistrial it had to be because she
                   10
                         is a female minority lawyer with a different national origin. Counsel’s supposition and
                   11

                   12    speculation is not evidence.
                   13               Plaintiff makes more unfound claims of bias. First, Plaintiff claims that Judge Carter
                   14
                         brought the jury back into the courtroom several times before Plaintiff’s counsel was back
                   15

                   16    from a break. This was because she was either unaware of the time trial was resuming or
                   17    was a few minutes late because she was stuck in the bathroom or elevator. (Mkrtchyan
                   18
                         Decl. ¶¶ 2 and 9). Plaintiff’s counsel brazenly asserts that the defense counsel began
                   19

                   20    closing argument before she returned from a lunch break. (Mkrtchyan Decl. ¶ 8). Counsel
                   21    is well aware that never happened. But to the point, at every break the Court advised of
                   22
                         the length of the break and when the trial would resume. If Plaintiff’s counsel could not
                   23

                   24    keep track of the timing and/or make it back to court on time, that is on her, not the Court.
                   25               Second, Plaintiff’s counsel states she was unable to take lunch breaks or restroom
                   26
                         breaks. Plaintiff also argues that she could not go home until 8:00 p.m. and was expected
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                   1     to be back at court early the following day. However, this shows no bias towards Plaintiff
                   2
                         because Defendants’ counsel was subject to the exact same conditions. Additionally,
                   3

                   4     Judge Carter stated he was even working the same hours as counsel in order to make the
                   5     proper decisions in this trial. (Exhibit A, page 27, line 19-22).
                   6
                                    There has been no bias towards Plaintiff by Hon. Judge David Carter. Thus,
                   7

                   8     Defendant respectfully requests this Court deny Plaintiffs Motion.
                   9

                   10
                         DATED: June 27, 2022                   COLLINS + COLLINS LLP
                   11

                   12

                   13                                           By: ___________________________
                   14                                                  CHRSTIE B. SWISS
                   15                                                  Attorneys for Defendant DEPUTY CHAD
                                                                       RENEGAR
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                   1                                                               PROOF OF SERVICE

                   2                                                       (CCP §§ 1013(a) and 2015.5; FRCP 5)
                         State of California,           )
                   3                                    ) ss.
                         County of San Diego.           )
                   4                 I am employed in the County of San Diego, State of California. I am over the age of 18 and not a party to the within action; my
                           business address is 2011 Palomar Airport Road, Suite 207, Carlsbad, California 92011.
                   5
                                     On this date, I served the foregoing document described as DEFENDANT CHAD RENEGAR’S OPPOSITION TO
                   6       PLAINTIFF’S MOTION TO DISQUALIFY DISTRICT JUDGE FOR BIAS AND PREJUDICE on the interested parties in this
                           action by placing same in a sealed envelope, addressed as follows:
                   7                                                         SEE ATTACHED SERVICE LIST

                   8          (BY MAIL) - I caused such envelope(s) with postage thereon fully prepaid to be placed in the United States mail in Carlsbad, California
                              to be served on the parties as indicated on the attached service list. I am “readily familiar” with the firm’s practice of collection and
                   9          processing correspondence for mailing. Under that practice, it would be deposited with the U.S. Postal Service on that same day with
                              postage thereon fully prepaid at Carlsbad, California in the ordinary course of business. I am aware that on motion of the party served,
                   10         service is presumed invalid if postal cancellation date or postage meter date is more than one day after date of deposit for mailing in
                              affidavit.
                   11
                              (BY CERTIFIED MAIL) – I caused such envelope(s) with postage thereon fully prepaid via Certified Mail Return Receipt Requested
                              to be placed in the United States Mail in Carlsbad, California.
                   12
                              BY EXPRESS MAIL OR ANOTHER METHOD OF DELIVERY PROVIDING FOR OVERNIGHT DELIVERY
                   13
                              (BY ELECTRONIC FILING AND/OR SERVICE) – I served a true copy, with all exhibits, electronically on designated
                   14         recipients listed on the attached Service on: 6-27-22

                              FEDERAL EXPRESS - I caused the envelope to be delivered to an authorized courier or driver authorized to receive documents with
                   15         delivery fees provided for.

                   16         (BY FACSIMILE) - I caused the above-described document(s) to be transmitted to the offices of the interested parties at the facsimile
                              number(s) indicated on the attached Service List and the activity report(s) generated by facsimile number (760) 274-2111 indicated all
                   17         pages were transmitted.

                              (BY PERSONAL SERVICE) - I caused such envelope(s) to be delivered by hand to the office(s) of the addressee(s).
                   18
                              Executed on June 27, 2022 at Carlsbad, California.
                   19
                              (FEDERAL) - I declare that I am employed in the office of a member of the bar of this court at whose direction the service was made.
                   20

                   21

                   22
                                                                              MARIAH STEPHNS
                                                                              mstephens@ccllp.law
                   23

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                   1                                                SERVICE LIST
                                                      Case Name: Holloway v. County of Orange, et al.
                   2                                     Case Number: 8:19-cv-01514-DOC-DFM
                                                                     CCMS: 23084
                   3        Narine Mkrtchyan                                S. Frank Harrell
                            1010 North Central Avenue Suite 204             Tamara M. Heathcote
                   4        Glendale CA, CA 91202                           Lynberg and Watkins APC
                            Mailing Address:                                1100 West Town and Country Road Suite 1450
                   5        10063 Riverside Dr #2288                        Orange, CA 92868
                            Toluca Lake, CA 91602                           714-937-1010
                   6        Tel: 818-388-7022                               Fax: 714-937-1003
                            Email: narine57@gmail.com                       Email: sharrell@lynberg.com;
                   7        ATTORNEYS FOR PLAINTIFF JEREMY                  theathcote@lynberg.com
                            HOLLOWAY                                        jbond@lynberg.com
                   8                                                        srodriguez@lynberg.com
                                                                            ATTORNEY FOR County of Orange, Deputy
                   9                                                        Joel Gonzalez, Deputy Kevin Pahel, Deputy
                                                                            Brandon Billinger, Deputy Mark Borba, Deputy
                   10                                                       Jameson Gotts, Deputy Justin Gunderson

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